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 1
                                                        October 14, 2021
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                         UNITED STATES DISTRICT COURT
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                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
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12     BRETT DESALVO, individually and     Case No.: 2:21-cv-01096-SB-PVC
       on behalf of all others similarly
13     situated,                           CLASS ACTION
14
                        Plaintiff,         Honorable Judge Stanley Blumenfeld, Jr.
15          v.
16                                         ORDER GRANTING STIPULATION
       IB HOSPITALITY INC. d/b/a           OF DISMISSAL OF CASE WITH
17     NORAH a Delaware corporation; and   PREJUDICE
18     DOES 1 to 10, inclusive,

19                      Defendants.        Complaint Filed: January 5, 2021
                                           Trial Date:      None Set
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             ORDER GRANTING STIPULATION OF DISMISSAL OF CASE WITH PREJUDICE
     Case 2:21-cv-01096-SB-PVC Document 32 Filed 10/14/21 Page 2 of 2 Page ID #:87



 1           IT IS HEREBY ORDERED THAT, good cause showing, Plaintiff Brett
 2     DeSalvo and Defendant IB Hospitality Inc. d/b/a Norah’s jointly request that this
 3     Court enter a dismissal with prejudice as to Plaintiff’s individual claims in their
 4     entirety and without prejudice as to the claims of absent putative class members in
 5     the above-entitled action, is GRANTED in full. Each party shall bear his or its own
 6     fees and costs.
 7
 8           IT IS SO ORDERED.
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10     Dated: October 14, 2021             __________________________________
                                             HON. STANLEY BLUMENFELD, JR.
11                                           U.S. DISTRICT COURT JUDGE
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             ORDER GRANTING STIPULATION OF DISMISSAL OF CASE WITH PREJUDICE
